               Case 8:18-bk-04837-RCT         Doc 15             Filed 07/17/18   Page 1 of 34



                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION
                                     www.flmb.uscourts.gov

IN RE:                                             Case No. 8:18-bk-04837-RCT
Michael Lee Hall and                               Chapter 7
Jennifer Elizabeth Hall,

            Debtors.                           /

                       MOTION FOR RELIEF FROM THE AUTOMATIC STAY
                          (181 ERSKIN ROAD, WINNSBORO, LA 71295)

            NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING
Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper
without further notice or hearing unless a party in interest files a response within twenty-
one (21) days from the date set forth on the attached proof of service, plus an additional
three days for service if any party was served by U.S. Mail.

If you object to the relief requested in this paper, you must file a response with the Clerk of
the Court at Sam M. Gibbons United States Courthouse, 801 N. Florida Avenue, Suite 555,
Tampa, FL 33602, and serve a copy on the movant's attorney, Lindsey Savastano, c/o
SHAPIRO, FISHMAN & GACHÉ, 2424 NORTH FEDERAL HIGHWAY, SUITE 360,
BOCA RATON, FLORIDA 33431, and any other appropriate person's within the time
allowed. If you file and serve a response within the time permitted, the Court will either
schedule and notify you of a hearing, or consider the response and grant or deny the relief
requested without a hearing.

If you do not file a response within the time permitted, the Court will consider that you do
not oppose the relief requested in the paper, will proceed to consider the paper without
further notice or hearing, and may grant the relief requested.

            COMES NOW, Secured Creditor, Quicken Loans Inc., by and through its undersigned

attorneys, moves the Court for an order granting relief from the automatic stay pursuant to 11

USC 362(d)(1) and 11 USC 362(d)(2)(A) and in support thereof would show:

       1.          This is a Motion pursuant to Bankruptcy Rule 4001(a) for relief from the

automatic stay provisions of Section 362(a) of the Bankruptcy Code.

       2.          Debtors filed a Chapter 7 case on June 11, 2018.




                                                   Page 1 of 4
18-314244
               Case 8:18-bk-04837-RCT      Doc 15          Filed 07/17/18   Page 2 of 34



       3.         Quicken Loans Inc., is a secured creditor by virtue of a promissory Note and

Mortgage on real property. The Note, Mortgage and Assignment of Mortgage are attached hereto

as Exhibit "A". Said real property has the following legal description:

            A 1.00 ACRE, MORE OR LESS, PARCEL OF LAND SITUATED IN THE
            SOUTHEAST QUARTER OF THE SOUTHWEST QUARTER [SE 1/4 OF SW
            1/4] OF SECTION 36, TOWNSHIP 14 NORTH, RANGE 6 EAST OF LAND
            DISTRICT NORTH OF RED RIVER, FRANKLIN PARISH, LOUISIANA AND
            IS MORE PARTICULARLY DESCRIBED AS FOLLOWS:

            COMMENCE AT THE SOUTHWEST CORNER OF THE SE 1/4 OF SW 1/4
            BEING MONUMENTED WITH A FOUND AXLE IN A PARISH GRAVEL
            ROAD KNOWN AS ERSKIN ROAD; THENCE, PROCEED N 87° 57' 38" E, A
            DISTANCE OF 233.35 FEET TO A FOUND 1/2' IRON ROD AND THE POINT
            OF BEGINNING; THENCE, PROCEED N 02° 07' 28" W, A DISTANCE OF
            233.35 FEET TO A FOUND 1/2" IRON ROD; THENCE, PROCEED N 87° 57'
            38" E, A DISTANCE OF 186.67 FEET TO A SET 2/2' IRON ROD; THENCE,
            PROCEEDS 02° 07' 28' E, A DISTANCE OF 233.35 FEET TO A SET 1/2"
            IRON ROD; THENCE, PROCEED S 87° 57' 38" W, A DISTANCE OF 186.67
            FEET TO THE POINT OF BEGINNING.

            AND

            A 1.25 ACRE, MORE OR LESS, PARCEL OF LAND SITUATED IN THE
            SOUTHEAST QUARTER OF THE SOUTHWEST QUARTER (SE 1/4 OF SW
            1/4) OF SECTION 36, TOWNSHIP 14 NORTH, RANGE 6 EAST OF LAND
            DISTRICT NORTH OF RED RIVER, FRANKLIN PARISH, LOUISIANA AND
            IS MORE PARTICULARLY DESCRIBED AS FOLLOWS:

            BEGINNING AT THE SOUTHWEST CORNER OF THE SE 1/4 OF SW 1/4
            BEING MONUMENTED WITH A FOUND AXLE IN A PARISH GRAVEL
            ROAD KNOWN AS ERSKIN ROAD; THENCE PROCEED N 02° 07' 28' W,
            ALONG THE WEST BOUNDARY LINE OF SAID SE 1/4 OF SW 1/4 AND
            ALONG ERSKIN ROAD, A DISTANCE OF 233.35 FEET TO A POINT, FROM
            WHICH A SET 1/2" IRON ROD BEARS N 87° 57' 38" E, A DISTANCE OF
            35.00 FEET ON THE APPARENT EASTERLY RIGHT-OF-WAY OF SAID
            ERSKIN ROAD; THENCE, PROCEED N 87° 57' 38' E, A DISTANCE OF 233.34
            FEET TO A SET 1/2" IRON ROD; THENCE, PROCEED S 02° 07' 28 E, A
            DISTANCE OF 233.35 FEET TO A SET 1/2 IRON ROD, FROM WHICH A SET
            1/2" IRON ROD BEARS S 87° 57' 38' W, A DISTANCE OF 198.34 FEET ON
            THE APPARENT EASTERLY RIGHT-OF-WAY OF SAID ERSKIN ROAD;
            THENCE, PROCEED S 87' 57' 38" W, A DISTANCE OF 233.34 FEET TO THE
            POINT OF BEGINNING.



                                             Page 2 of 4
18-314244
               Case 8:18-bk-04837-RCT        Doc 15          Filed 07/17/18   Page 3 of 34



            Bearing a common address of: 181 Erskin Road, Winnsboro, LA 71295 (the “Property”).

       4.         Debtors surrendered the Property pursuant to the Chapter 7 Statement of

Intention.

       5.         The Property has not been claimed exempt by Debtors and has not been

abandoned by the Trustee.

       6.         The payments due pursuant to the aforementioned Note and Mortgage have been

in default, and remain in default, since June 1, 2018.

       7.         The approximate value of debt due is $116,067.48, as of June 20, 2018.

       8.         Debtors failed to adequately protect the interest of Secured Creditor, Quicken

Loans Inc.

       9.         Once the stay is terminated, Debtor will have minimal incentive to insure,

preserve, or protect the collateral; therefore, Secured Creditor, Quicken Loans Inc., requests that

the Court waive the 14-day stay period imposed by Fed.R.Bankr.P. 4001(a)(3).

     10.          Pursuant to M.D. Fla. L.B.R. 9004-2(f) the estimated time required for hearing is

five (5) minutes.

            WHEREFORE, Secured Creditor, Quicken Loans Inc., moves this Honorable Court for an

Order granting relief from the automatic stay and waiver of the 14-day stay imposed by

Fed.R.Bankr.P. 4001(a)(3).




                                               Page 3 of 4
18-314244
            Case 8:18-bk-04837-RCT       Doc 15          Filed 07/17/18   Page 4 of 34



                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been sent via CM/ECF
electronic filing or via first class U.S. Mail to the following on this 17th day of July, 2018.

Michael Lee Hall, 122 Orange Bud Way, Plant City, FL 33563
Jennifer Elizabeth Hall, 122 Orange Bud Way, Plant City, FL 33563
Peter F Zooberg, Zooberg Law Firm, P.A., 15310 Amberly Drive, Suite 250, Tampa, FL 33647
Traci K. Stevenson, PO Box 86690, Madeira Beach, FL 33738
United States Trustee, 501 E. Polk Street, Suite 1200, Tampa, FL 33602

                                           /s/ Lindsey Savastano
                                           Lindsey Savastano
                                           FL Bar # 57079
                                           Shapiro, Fishman & Gaché, LLP
                                           Attorney for Secured Creditor
                                           2424 North Federal Highway
                                           Suite 360
                                           Boca Raton, Florida 33431
                                           Telephone: 561-542-7621
                                           Fax: (561) 998-6707
                                           E-mail: Lsavastano@LOGS.com




                                           Page 4 of 4
18-314244
Case 8:18-bk-04837-RCT   Doc 15   Filed 07/17/18   Page 5 of 34




                         EXHIBIT A
Case 8:18-bk-04837-RCT   Doc 15   Filed 07/17/18   Page 6 of 34




                         EXHIBIT A
Case 8:18-bk-04837-RCT   Doc 15   Filed 07/17/18   Page 7 of 34




                         EXHIBIT A
Case 8:18-bk-04837-RCT   Doc 15   Filed 07/17/18   Page 8 of 34




                         EXHIBIT A
Case 8:18-bk-04837-RCT   Doc 15   Filed 07/17/18   Page 9 of 34




                         EXHIBIT A
Case 8:18-bk-04837-RCT   Doc 15   Filed 07/17/18   Page 10 of 34




                         EXHIBIT A
Case 8:18-bk-04837-RCT   Doc 15   Filed 07/17/18   Page 11 of 34




                         EXHIBIT A
Case 8:18-bk-04837-RCT   Doc 15   Filed 07/17/18   Page 12 of 34




                         EXHIBIT A
Case 8:18-bk-04837-RCT   Doc 15   Filed 07/17/18   Page 13 of 34




                         EXHIBIT A
Case 8:18-bk-04837-RCT   Doc 15   Filed 07/17/18   Page 14 of 34




                         EXHIBIT A
Case 8:18-bk-04837-RCT   Doc 15   Filed 07/17/18   Page 15 of 34




                         EXHIBIT A
Case 8:18-bk-04837-RCT   Doc 15   Filed 07/17/18   Page 16 of 34




                         EXHIBIT A
Case 8:18-bk-04837-RCT   Doc 15   Filed 07/17/18   Page 17 of 34




                         EXHIBIT A
Case 8:18-bk-04837-RCT   Doc 15   Filed 07/17/18   Page 18 of 34




                         EXHIBIT A
Case 8:18-bk-04837-RCT   Doc 15   Filed 07/17/18   Page 19 of 34




                         EXHIBIT A
Case 8:18-bk-04837-RCT   Doc 15   Filed 07/17/18   Page 20 of 34




                         EXHIBIT A
Case 8:18-bk-04837-RCT   Doc 15   Filed 07/17/18   Page 21 of 34




                         EXHIBIT A
Case 8:18-bk-04837-RCT   Doc 15   Filed 07/17/18   Page 22 of 34




                         EXHIBIT A
Case 8:18-bk-04837-RCT   Doc 15   Filed 07/17/18   Page 23 of 34




                         EXHIBIT A
Case 8:18-bk-04837-RCT   Doc 15   Filed 07/17/18   Page 24 of 34




                         EXHIBIT A
Case 8:18-bk-04837-RCT   Doc 15   Filed 07/17/18   Page 25 of 34




                         EXHIBIT A
Case 8:18-bk-04837-RCT   Doc 15   Filed 07/17/18   Page 26 of 34




                         EXHIBIT A
Case 8:18-bk-04837-RCT   Doc 15   Filed 07/17/18   Page 27 of 34




                         EXHIBIT A
Case 8:18-bk-04837-RCT   Doc 15   Filed 07/17/18   Page 28 of 34




                         EXHIBIT A
Case 8:18-bk-04837-RCT   Doc 15   Filed 07/17/18   Page 29 of 34




                         EXHIBIT A
Case 8:18-bk-04837-RCT   Doc 15   Filed 07/17/18   Page 30 of 34




                         EXHIBIT A
Case 8:18-bk-04837-RCT   Doc 15   Filed 07/17/18   Page 31 of 34




                         EXHIBIT A
Case 8:18-bk-04837-RCT   Doc 15   Filed 07/17/18   Page 32 of 34




                         EXHIBIT A
Case 8:18-bk-04837-RCT   Doc 15   Filed 07/17/18   Page 33 of 34




                         EXHIBIT A
Case 8:18-bk-04837-RCT   Doc 15   Filed 07/17/18   Page 34 of 34




                         EXHIBIT A
